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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF GEORGIA
                               STATESBORO DIVISION


 ORCHESTRATE HR, INC., and VIVATURE,
 INC.,

                 Plaintiffs,                                 CIVIL ACTION NO.: 6:19-cv-82

         v.

 BLUE CROSS AND BLUE SHIELD OF
 GEORGIA, INC.; BLUE CROSS AND BLUE
 SHIELD HEALTHCARE PLAN OF
 GEORGIA, INC.; and ANTHEM
 INSURANCE COMPANIES, INC.,

                 Defendants.


                                             ORDER

       Pursuant to a May 19, 2020 Order entered by the Magistrate Judge, this case was stayed so

that the parties could negotiate the issue of whether to administratively close the case and pursue

arbitration of all claims. (See docs. 26, 27, 29, 33.) Presently before the Court is the parties’ Joint

Motion to Stay and Administratively Close the Case, (doc. 36). In their Motion, the parties explain

that, “[p]ursuant to an agreement by and between the parties to arbitrate the claims of [the case], .

. . [they] request the Court stay and administratively close this action until all claims have been

fully arbitrated or until further order[ of] the Court.” (Id. at p. 3.) Accordingly, and for good cause

shown, the Court GRANTS the parties’ Motion, (doc. 36), and ORDERS:

       1. This action shall REMAIN STAYED until the final determination of the arbitration

          proceedings;

       2. The Clerk of Court shall ADMINISTRATIVELY CLOSE this case;

       3. At the conclusion of the arbitration proceedings, the parties SHALL file, within thirty



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      (30) days, a joint status report regarding any resolution of Plaintiffs’ claims; and

   4. The Court shall retain jurisdiction over this action to (a) enforce the terms of the parties’

      agreement to arbitrate; and (b) entertain any statutory proceedings to confirm, correct,

      or vacate any arbitration award.

   SO ORDERED, this 4th day of August, 2020.




                                   R. STAN BAKER
                                   UNITED STATES DISTRICT JUDGE
                                   SOUTHERN DISTRICT OF GEORGIA




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